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 5

 6                              IN THE UNITED STATES DISTRICT COURT

 7                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
          GLORIA ROMAN, GERARDO                         Case No.: 3:16-cv-05961-WHA
 9
          VAZQUEZ, JUAN AGUILAR, and all
10        others similarly situated,
                                                         PLAINTIFFS’ NOTICE OF MOTION
11                       Plaintiffs,                     AND MOTION FOR CLASS
                                                         CERTIFICATION AND MEMORANDUM
12        v.                                             IN SUPPORT THEREOF
13
          JAN-PRO FRANCHISING                           Date:        March 24, 2022
14        INTERNATIONAL, INC.                           Time:        8:00 am
                                                        Courtroom:   12, 19th Floor
15                       Defendant.
                                                        Hon. William Alsup
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     PLAINTIFFS’ MPA IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT               CASE NO. CV 3:16-cv-05961-WHA
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                                      NOTICE OF MOTION AND MOTION
 1

 2   TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
 3          PLEASE TAKE NOTICE THAT on March 24, 2022, at 8:00 a.m., in Courtroom 12 of this
 4   Court, located at 450 Golden Gate Avenue, San Francisco, CA 94102, Plaintiffs Gerardo Vazquez,
 5   Gloria Roman, and Juan Aguilar, individually and on behalf of all others similarly situated, will, and
 6   hereby do, move the Court pursuant to Federal Rule of Civil Procedure 23 for class certification of
 7   Plaintiffs’ claims against Defendant.
 8          This motion is brought pursuant to Rule 23 of the Federal Rules of Civil Procedure on the
 9   ground that the Plaintiffs and class members, who are cleaning workers, have been misclassified as
10   independent contractors rather than employees and, as a result, have suffered violations of various
11   provisions of the Wage Order and the Labor Code. For instance, Plaintiffs and class members have had
12   unlawful deductions taken from their wages in the form of excessive and unfair fees and charge backs in
13   violation of California Labor Code §§ 218.5, 221. Plaintiffs and class members have also not been paid
14   the applicable minimum wage for all hours worked in violation of Cal. Lab. Code §§ 1182.11-1182.13,
15   1194(a), 1194.2, 1197, and have not been paid overtime for hours worked beyond eight per day or forty
16   per week in violation of Cal. Lab. Code §§ 510, 1194, 1198. Nor have class members been reimbursed
17   for necessary business expenses such as cleaning supplies and equipment and the cost of their own
18   insurance in violation of Cal. Lab. Code § 2802.
19          The evidence submitted demonstrates that Plaintiffs have satisfied the requirements of Rule 23(a)
20   and 23(b)(3) and that class certification is appropriate. This Motion is based on this Notice of Motion
21   and Motion, the Memorandum of Points and Authorities included herein, the Declaration of Shannon
22   Liss-Riordan, filed herewith, all pleadings and papers on file in this action, any matters of which the
23   Court may or must take judicial notice, and such additional evidence or argument as may be presented at
24   or prior to the time of the hearing.
25

26   Date: January 21, 2022                               Respectfully submitted,

27                                                        /s/ Shannon Liss-Riordan
                                                          Shannon Liss-Riordan
28                                                        Attorneys for Plaintiffs

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                             MEMORANDUM OF POINTS AND AUTHORITIES
 1
            I.       INTRODUCTION
 2
            Plaintiffs Gloria Roman, Juan Aguilar, and Gerardo Vazquez bring this case against Defendant
 3
     Jan-Pro Franchising International, Inc. (“Jan-Pro”) on behalf of mostly immigrant cleaning workers to
 4
     challenge what they contend are illegal employment practices by a large national cleaning company that
 5
     sells low-paying janitorial jobs under the guise that the workers are buying their own businesses. In
 6
     order to perform cleaning work, Jan-Pro cleaning workers such as Plaintiffs must pay large sums of
 7
     money up front to become Jan-Pro “franchisees” and are further required to pay numerous other fees on
 8
     an ongoing basis for the right to continue working for Jan-Pro, including franchise fees, finder’s fees,
 9
     workers’ compensation insurance, liability insurance, and assorted other fees. Plaintiffs assert that they
10
     were actually employees under California law and as a result of being misclassified as independent
11
     contractors, have suffered numerous violations of the California Labor Code and the applicable IWC
12
     wage order, by having the above-mentioned fees deducted from their wages; being deprived of
13
     minimum wage and overtime; and being required to pay their own expenses necessary to do their jobs.
14
            Plaintiffs now move for class certification on their misclassification claim and related claims for
15
     California Labor Code violations. Other courts have consistently certified classes of cleaning workers
16
     like the plaintiffs in this case, who were classified as franchisee independent contractors and contend
17
     that they were actually employees under the “ABC test”, which the California Supreme Court adopted in
18
     Dynamex Operations West, Inc. v. Superior Court, 4 Cal. 5th 903 (2018), 1 and which the Ninth Circuit
19
     has confirmed applies in this case, Vazquez v. Jan-Pro Franchising Int'l, Inc., 986 F.3d 1106, 1122 (9th
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           Specifically, under the ABC test, the worker is presumed to be an employee, and in order to
25   overcome that presumption, the employer must prove all three prongs:
26          (A) that the worker is free from the control and direction of the hiring entity in connection with
            the performance of the work, both under the contract for the performance of the work and in fact;
27          and (B) that the worker performs work that is outside the usual course of the hiring entity's
            business; and (C) that the worker is customarily engaged in an independently established trade,
28          occupation, or business of the same nature as the work performed.

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 1   Cir. 2021), 2 rejecting Jan-Pro’s vociferous arguments to the contrary. 3 See De Giovanni v. Jani-King,
 2   262 F.R.D. 71, 84-86 (D. Mass. 2009) (certifying Jani-King franchisees’ misclassification claims under
 3   all three prongs of the “ABC” test); Awuah v. Coverall North America, Inc., C.A. No. 07-10287, Dkt.
 4   No. 365 (D. Mass. Sept. 27, 2011) (certifying franchisees’ misclassification claims against another
 5   cleaning franchise company under Massachusetts ABC test); Mujo v. Jani-King Int'l, Inc., No. 3:16-CV-
 6   1990 (VAB), 2019 WL 145524, at *1 (D. Conn. Jan. 9, 2019) (certifying Jani-King franchisees’
 7   misclassification claims under Connecticut’s ABC test); see also Myers v. Jani-King of Philadelphia,
 8   Inc. et al., 2015 WL 1055700 (E.D. Pa. Mar. 11, 2015) (certifying Jani-King franchisees’
 9   misclassification claims under common law multi-factor “right to control” test), aff’d sub nom, Williams
10   v. Jani-King of Philadelphia, Inc. et al., 837 F.3d 314 (3d Cir. 2016).
11          Massachusetts courts applying the exact same “ABC” test for employee status have consistently
12   recognized that it makes little sense to determine classification of a given position based on an
13   individualized analysis as it would make it virtually impossible to challenge a company’s systemic
14   decision to misclassify a group of workers. See Athol Daily News v. Board of Review of Div. of
15   Employment & Training, 439 Mass. 171, 181 n.14 (2003) (“criteria based on the factual circumstances
16   of each individual worker, rather than on the nature of the services performed, would have the
17   anomalous result of inconsistent status determinations with respect to workers performing identical
18   services for the same company”); Martins v. 3PD, Inc., 2013 WL 1320454, at *8-9 (D. Mass. Mar. 28,
19   2
             Indeed, in announcing the ABC test, the Dynamex Court expressly adopted the Massachusetts
     version of an “ABC” test and specifically cited with approval two Massachusetts cases which, applying
20   the same test, held that a cleaning “franchisee” was an employee of a cleaning “franchisor” under
     Prongs B and C of the test respectively. See Dynamex, 4 Cal.5th at 963 (citing Awuah v. Coverall
21   North America, Inc., 707 F. Supp. 2d 80, 82–84 (D. Mass. 2010) (rejecting defendant’s argument that it
     was in the business of “franchising,” rather than commercial cleaning and granting plaintiff franchisees’
22   motion for summary judgment on liability); Coverall N. America v. Div. of Unemployment, 857 N.E.2d
     1083, 1087 (2006) (considering only part C of the ABC standard and holding that franchisee was an
23   employee); see also Vazquez, 986 F.3d at 1123 (noting that “Dynamex favorably cited two
     Massachusetts decisions that applied the ABC test in the franchise context” as evidence that “the
24   franchise context does not alter the Dynamex analysis…”).
     3
25           Any argument by Jan-Pro that the ABC test must be applied differently in the franchise context
     has been foreclosed by the Ninth Circuit’s decision in this case. Vazquez v. Jan-Pro Franchising Int'l,
26   Inc., 986 F.3d 1106, 1124 (9th Cir. 2021) (holding that “the franchise context does not alter the
     Dynamex analysis…”) (emphasis added). Likewise, any argument by Jan-Pro that Dynamex does not
27   apply in this case, where the cleaning workers did not have direct contracts with Jan-Pro Franchising
     International and instead contracted with intermediary “master franchisees”, has been foreclosed by the
28   Ninth Circuit’s decision, which affirmed that it is the proper test to apply to Plaintiffs’ claims in this
     case. Id. at 1119-22.
                                                           2
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 1   2013) (“3PD I”) (noting that “[c]lass actions are [] the preferred vehicle for adjudicating employment
 2   classification claims” because “[o]f necessity, a company’s employee-classification scheme applies to
 3   all individuals classified under it”); De Giovanni v. Jani-King Int'l, Inc., 262 F.R.D. 71, 85 (D. Mass.
 4   2009) (“Both the United States Supreme Court and the Massachusetts Supreme Judicial Court have
 5   expressed a strong preference for rendering decisions on the classification of employees on class wide
 6   basis”).
 7          As recognized in these cases, the issues raised here present common questions of law that can
 8   easily be resolved based on common facts for all class members. In this case, just like the above-cited
 9   cases, Plaintiffs allege that they were misclassified as independent contractors pursuant to identical
10   franchise agreements and uniform policy manuals. Plaintiffs seek to certify a class consisting of all
11   individuals who signed franchise agreements with Jan-Pro master franchises in the state of California
12   and performed cleaning services for Jan-Pro since December 12, 2004 4, all of whom have been subject
13   to Jan-Pro’s uniform practice of classifying cleaning workers as independent contractors and requiring
14   these workers to pay for the right to work. Plaintiffs’ claims therefore present a single underlying legal
15   question, common to every proposed class member regarding whether these individuals, who performed
16   cleaning services pursuant to a Jan-Pro franchise agreement, were misclassified as independent
17   contractors. This question can be answered by examining common, class-wide evidence, including Jan-
18   Pro’s self-descriptions and advertising, its standard “Franchise Agreement,” and incorporated manuals,
19   and Jan-Pro’s own testimony regarding its uniform policies and practices that apply to all class
20   members. The Court should therefore grant this motion and certify Plaintiffs’ claims against Jan-Pro.
21          Indeed, the Ninth Circuit in this very case observed that “Prong B may be the most susceptible to
22   summary judgment on the record already developed”, as courts look at whether the putative employee
23   were “necessary” to the hiring entity’s business and whether “the services of the putative employee are
24   continuously used by the hiring entity.” Id. at 1126-27. The Ninth Circuit further recognized that:
25          Jan-Pro’s business ultimately depends on someone performing the cleaning. That work is
26          performed solely by the unit franchisees. Thus, Jan-Pro fundamentally depends on a supply of
     4
27          The proposed class period runs from four years prior to the filing of the Amended Complaint that
     added these California plaintiffs and claims on December 12, 2008. See Dkt. No. 29. Plaintiffs’ claims
28   under the UCL, Cal. Bus. & Prof. Code §17200 et seq., which has a statute of limitations of four years,
     date back to December 2004.
                                                           3
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            unit franchisees for its business (and, accordingly, requires its regional master franchisees to sell
 1
            a minimum number of unit franchises). Second, Jan-Pro earns a percentage of the payments that
 2          customers pay for cleaning services. Thus, unlike the medallion owners in Parks Cab, Jan-Pro is
            not indifferent to how much work unit franchisees do or how well they perform that work. It is
 3          not simply renting out its trademark and goodwill to independent entities that could use it to
            perform cleaning services. Rather, Jan-Pro is actively and continuously profiting from the
 4          performance of those cleaning services as they are being performed.
 5   Id. at 1126. Further, in assessing under Prong B whether Jan-Pro holds itself out as a cleaning business,
 6   the Ninth Circuit again described evidence that is common to the entire class, such as how:
 7          Jan-Pro's websites and advertisements likewise promote Jan-Pro as being in the business of
 8          cleaning. For example, the website describes Jan-Pro as an “environmentally responsible
            commercial cleaning company” and explains that Jan-Pro provides “cleaning services.”
 9
     Id. at 1127-28.
10
            The Ninth Circuit’s analysis unequivocally indicates that adjudication of Plaintiffs’ claims now
11
     hinges on analysis of the same legal question, common to every member of the proposed class – whether
12
     Jan-Pro cleaning franchisees such as Plaintiffs perform services in Jan-Pro’s usual course of business
13
     (Prong B of the test). Dynamex, 4 Cal. 5th at 963. 5 Indeed, the Ninth Circuit’s analysis indicates that it
14
     is virtually a foregone conclusion that this Court find that Jan-Pro cannot satisfy Prong B with regard to
15
     all of its cleaning workers as a class. 6 As such, class treatment is particularly appropriate here.
16
            The Ninth Circuit further recognized that “the ABC test is conjunctive, so a finding of any prong
17
     against the hiring entity directs a finding of an employer-employee relationship.” Vazquez, 986 F.3d at
18

19
     5
20           See D'Italia v. Lowe's Home Centers, Inc., Civ. No. 11-4758-BLS1 (Suffolk Super. Ct.
     December 12, 2012) (Billings, J.) (Ex. B to the Liss-Riordan Decl.) at *13 (“Lowe’s either is in the
21   businesses of kitchen and bath remodeling, or it isn’t.”); De Giovanni, 262 F.R.D. at 85 (“common
     issues will predominate to determine whether the services performed by the class fall outside of Jani–
22   King's usual course of business” because there are no individualized inquiries regarding “the type of
     business operated by Jani–King”).
23   6
             Because the Parties had not moved for summary judgment at that time, the Ninth Circuit could
     not hold for the Plaintiffs outright. Plaintiffs have now concurrently moved for summary judgment.
24   Indeed, courts in Massachusetts have granted summary judgment to cleaning franchisees for Jan-Pro’s
     principal competitors under Prong B of the identically-worded Massachusetts test. See, e.g., Awuah v.
25   Coverall North America, Inc., C.A. No. 07-10287 (D. Mass. Sept. 22, 2011) (granting summary
     judgment to franchisee cleaning workers on their claim of misclassification, also under prong B); Da
26   Costa v. Vanguard Cleaning Sys., Inc., No. CV 15-04743, 2017 WL 4817349, at *1 (Mass. Super. Sept.
     29, 2017) (granting summary judgment to franchisee cleaning workers, holding that defendant failed to
27   meet its burden of establishing both Prong A and B of the Connecticut and Massachusetts ABC tests);
     DeGiovanni v. Jani-King Int’l, Inc., Civ. A. No. 07-10066-MLW (D. Mass. June 6, 2012) (Wolf, J.) (Ex.
28   A to Liss-Riordan Decl.).

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 1   1125. Therefore, this Court may certify a class solely on Prong B of the ABC test. 7 Id.; see also Costello
 2   v. Beavex, 810 F.3d 1045, 1060-61 (7th Cir. 2016) (reversing order denying class certification, where
 3   court concluded that commonality existed on the dispositive second prong of the ABC test; also
 4   reversing district court’s holding that the first prong could not be resolved on common evidence); James
 5   v. Uber Techs. Inc., No. 19-CV-06462-EMC, 2021 WL 254303, at *11 (N.D. Cal. Jan. 26, 2021)
 6   (certifying class under Prongs A and B of the Dynamex ABC test); Moreno v. JCT Logistics, Inc., 2019
 7   WL 3858999, at *13 (C.D. Cal. May 29, 2019) (certifying class on Prong B alone; “Because the type of
 8   work performed by the putative class members and the scope of Defendants’ business are capable of
 9   determination on a classwide basis, the Court finds that common issues predominate under the ABC
10   test.”). Thus, this Court should certify a class based on Prong B of the ABC test alone.
11          As such, Plaintiffs’ motion for class certification should be granted, without need for the Court to
12   conduct a Rule 23 analysis for each of the underlying wage claims. However, should this Court believe
13   it were necessary to address each of the claims Plaintiffs have asserted, courts also routinely certify
14   classes of employees alleging claims for expense reimbursement and unlawful deductions; 8 as well as
15   7
             While it is not necessary for Plaintiffs to establish commonality under Prongs A and C,
16   adjudication of these prongs would likewise turn on common evidence and a common legal question.
     See DaSilva v Border Transfer of MA, Inc., 296 F. Supp. 3d 389, 400 (D. Mass. 2017) (certifying class
17   under prongs A and C); Martins v. 3PD, Inc., 2013 WL 1320454 *6 (D. Mass. Mar. 28, 2013)
     (certifying class under Prongs A and B); see also De Giovanni v. Jani-King Intern., Inc., 262 F.R.D. 71,
18   86 (D. Mass. 2009) (“Common questions will predominate for the plaintiffs employment classification
     class under all three prongs of the Massachusetts' test.”). Under Prong A, the issue is whether the alleged
19   employer has the right to exercise control over the worker’s performance. James v. Uber Technologies,
     Inc., 338 F.R.D. 123, 136 (N.D. Cal. 2021) (“The issue under prong A is Uber's right to control whether
20   drivers use the application or not (and conversely, drivers' right to choose among options made available
     by Uber); the same questions apply to all drivers and are thus commonly shared.”). Here, common
21   documents such as Jan-Pro’s franchise agreement and overarching policies will be determinative of Jan-
     Pro’s right to exercise control. Therefore, the Prong A inquiry is also suitable for class certification.
22   Infra, at pp. 12.
             Under Prong C, the issue is whether the worker is “customarily engaged in an independently
23   established” business of the same nature as the work performed for the putative employer. The relevant
     examination under Prong C of the “ABC” test is whether the individual performs the services under his
24   or her own “hat”, reflecting an independently established business, or wears the hat of the employer. See
     DaSilva v. Border Transfer of MA, Inc., 377 F. Supp. 3d 74, 97 (D. Mass. 2019). Here, Plaintiffs will
25   argue that Jan-Pro cleaning workers as a class “wear the hat” of Jan-Pro when they are completing
     cleaning accounts. Thus, Prong C will also be resolved according to common evidence and is suitable
26   for class certification. Infra, at pp. 12.
     8
27           See, e.g., Trosper v. Styker Corp., 2014 WL 4145448, at *9 (N.D. Cal. Aug. 21, 2014) (“This
     Court and others in this Circuit have found that commonality is met when, as here, the proposed class
28   asserts that an employer adopted a policy of not reimbursing its employees' necessary business expenses
     (continued on next page)
                                                           5
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 1   minimum wage and overtime violations.9 Most plainly, Plaintiffs’ claims for business expenses and
 2   wage deductions will be resolved based on evidence and legal questions that are common to the class, as
 3   it is Jan-Pro’s standard form franchise agreements that set forth the various fee amounts that Plaintiffs
 4   and other cleaning workers are required to pay for their jobs up front and on an ongoing basis. For these
 5   reasons, this Court may also certify classes for each of the alleged California Labor Code violations.
 6          II.   FACTUAL BACKGROUND
     A.     Jan-Pro Provides Commercial Cleaning Services.
 7
            Jan-Pro Franchising International Inc. (hereinafter “Jan-Pro) is a national commercial cleaning
 8
     company. Jan-Pro’s contracts note that it “is in the business of operating and franchising comprehensive
 9
     cleaning and maintenance businesses which engage in the performance of complete cleaning and/or
10
     maintenance related services, including, but not limited to, commercial, industrial, institutional and
11
     residential cleaning or maintenance services under the name JAN-PRO…” (Jan-Pro Regional Master
12
     Franchise Agreement, § 1.1, attached as Exhibit 2 to Liss-Riordan Decl.). 10 Jan-Pro has held itself out to
13
     the public on its website as being in the business of “Cleaning & Disinfecting”, with numerous web
14
     pages addressing “Who We Clean” and “Why JAN-PRO Cleaning”; and further, advertising that “Jan-
15
     Pro Cleaning & Disinfecting Means Clean” and “Jan-Pro Cleaning & Disinfecting is the best in the
16
     commercial cleaning business for a reason”. See Ex. 3. Indeed, the Frequently Asked Questions page
17
     answers numerous questions relating to cleaning, such as “Does Jan-Pro Cleaning & Disinfecting clean
18

19
     in violation of Section 2802.”); Estrada v. FedEx Ground Package Sys., Inc., 154 Cal. App. 4th 1 (Cal.
20   Ct. App. 2007) (recognizing claims for failure to reimburse expenses arising from misclassification as
     independent contractors and finding claims suitable for class treatment); Richie v. Blue Shield of
21   California, 2014 WL 6982943 *15 (N.D. Cal. Dec. 9, 2014) (finding that the requirements of Rule 23
     were met with regard to certain business expenses claims).
22   9
             See, e.g., Vaquero v. Ashley Furniture Industries, Inc., 824 F.3d 1150, 1155 (9th Cir. 2016)
     (finding that the plaintiffs had satisfied commonality and predominance because “Defendants'
23   consciously chosen compensation policy deprived the class members of earnings in violation of
     California's minimum wage laws. In a wage and hour case, unlike in an antitrust class action, the
24   employer-defendant's actions necessarily caused the class members' injury. Defendants either paid or did
     not pay their sales associates for work performed. No other factor could have contributed to the alleged
25   injury”); see also Cruz v. Dollar Tree Stores, Inc., 2009 WL 1458032, at *9 (N.D. Cal. May 26, 2009)
     (overtime claims); Dilts v. Penske Logistics, LLC, 2010 WL 1709807, at *11 (S.D. Cal. Apr. 26, 2010)
26   (claims for meal and rest breaks, overtime compensation, business expenses, unlawful deductions, and
     timely payment of wages); see also Prince v. CLS Transp., Inc., 118 Cal. App. 4th 1320, 1328 (Cal. Ct.
27   App. 2004) (“wage and hour disputes routinely proceed as class actions”).
     10
28           All exhibits cited herein are attached to the Declaration of Shannon Liss-Riordan (“Liss-Riordan
     Decl.”) filed herewith unless otherwise indicated.
                                                           6
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 1   during or after business hours?”; “Do you clean up biohazards?”; and “Do you do terminal cleaning? Id.
 2   During COVID-19, Jan-Pro’s website has touted its cleaning services as “Helping you combat the
 3   Covid-19 Pandemic” and outlined the relevant, specific features of Jan-Pro’s cleaning services, such as
 4   “Eliminate 99.9% of viruses and bacteria with EnviroShield® disinfecting system”. See Ex. 4.
 5   B.     Jan-Pro Implements Uniform Policies and Procedures Regarding Its Cleaning Workers
 6          Jan-Pro has created a uniform system in which all processes, policies and procedures are
 7   provided by Jan-Pro International, Inc. through its manuals and template contracts, and they are
 8   implemented, as instructed, by its master franchisees with whom Jan-Pro contracts. See Ex. 1 Kissane
 9   Dep., at 25; 76-77; Ex. 15 (P&PM); Ex. 16, Safety Manual. Jan-Pro also drafts and provides training
10   manuals on how to perform commercial cleaning, which are used to train Plaintiffs and other cleaning
11   workers. See Ex. 1, Kissane Dep., at 77. Jan-Pro prepares template Uniform Franchise Offering
12   Circulars (“UFOC”), which are now called the Federal Disclosure Documents (“FDDs”)), for its master
13   franchisees’ use. Ex. 7, Thompson Dep., at 17. Jan-Pro requires its regional masters to submit all FDD’s
14   to it for approval before use. See Ex. 2, Regional Master Franchise Agreement, at § 4.24. Jan-Pro drafts
15   template franchise agreements, which have remained largely identical during the class period. See Ex. 1,
16   Kissane Dep., at 25. Through these template franchise agreements, Jan-Pro uniformly classifies its
17   cleaning worker “unit franchisees” as independent contractors. See, e.g., Ex. 13, Vazquez FA, at § 11
18   (“Franchisee is and shall remain at all times a completely independent contractor in business for itself”);
19   Ex. 12, Roman FA, at § 11; Ex. 11, Aguilar FA, § 11.
20          The franchise agreements also set forth the franchise fee that cleaning workers must pay in order
21   to work on cleaning accounts for Jan-Pro. See, e.g., Ex. 11, Aguilar FA, §7(A) (requiring up front
22   franchise fee of $950.00 and for the balance of $1850.00 to be paid in monthly installments with a 10%
23   interest rate); Ex. 12, Roman FA, at § 7(A) (same); Ex. 13, Vazquez FA, at § 7 (requiring up front
24   franchise fee of $5000.00 and for the balance of $4000.00 to be paid in monthly installments with a 10%
25   interest rate). Pursuant to the uniform franchise agreement, Jan-Pro also requires cleaning workers such
26   as Plaintiffs to pay numerous other fees on an ongoing basis, such as 5% of all cleaning revenue from
27   the accounts they clean as a Management Fee; a Sales and Marketing Fee; an Isolated Cleaning Service
28   Fee; and a Bid and Negotiation Fee. See Ex. 1, Kissane dep., at 33; Ex. 11, Aguilar FA, § 7; Ex. 12,

                                                           7
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 1   Roman FA, at § 7; Ex. 13, Vazquez FA, § 8. Jan-Pro receives 10% of all franchise fees paid by the
 2   franchisees and 4% of all cleaning revenue. See Ex. 1, Kissane dep., 33, 63-64, 83, 130-131; see also
 3   Ex. 2, Regional Master Franchise Agreement, § 4.7(b). Significantly, Jan-Pro lists as its own revenue all
 4   the revenue received from the cleaning services performed by franchisees such as Plaintiffs. Ex. 1,
 5   Kissane Dep., at 63.
 6          As set forth in the standard form franchise agreement, apart from an initial starter kit, Jan-Pro
 7   does not provide its unit franchisees with cleaning supplies and equipment necessary to perform their
 8   work, and it does not reimburse cleaning worker franchisees for their necessary business expenses as a
 9   matter of policy. See Ex. 1 (Kissane Dep.) at 157-158; 91-93; Ex. 11, Aguilar FA, § 6(A); Ex. 12,
10   Roman FA, at § 6(A); Ex. 13, Vazquez FA, § 6(A).
11   C.     Jan-Pro Has a Uniform Right of Control Over Cleaning Workers
12          Jan-Pro reserves the absolute right to control the business of any Jan-Pro “master franchisee” or
13   “unit franchisee” like the Plaintiffs in this case. See Ex. 2 to Liss-Riordan Decl. (Master Franchise
14   Agreement) at § 4.28 (“Franchisor reserves the right to establish company policies and/or procedures
15   pertaining to the operation of Regional Master Franchisee’s franchised business, the terms of this
16   Agreement, or the business of any unit franchisee subject to the licenses granted under this
17   Agreement”). Jan-Pro controls its master franchisees by requiring that they “follow current established
18   JAN-PRO policies, practice and procedures, and as they may be amended from time to time, and agrees
19   not to deviate from them without prior written approval.” Id., § 4.2. In turn, Jan-Pro requires that its
20   master franchisees exercise control over all unit franchisees. Specifically, “all work and services
21   performed by [the] Regional Master Franchisee will be performed and/or supervised by [the] Regional
22   Master Franchisee or its authorized agents/employees.” Id. Jan-Pro is a third-party beneficiary to all
23   agreements between master franchisees and unit franchisees like the Plaintiffs. Id. § 14.1.
24   D.     Cleaning Workers Work Uniformly Under the Auspices of Jan-Pro and Do Not Have
            Independently Established Businesses.
25
            For the majority of the class period, 11 the standard franchise agreements drafted by Jan-Pro
26
     included non-compete clauses preventing franchisees from performing any other commercial cleaning
27

28   11
            Jan-Pro removed this clause in approximately 2013.
                                                           8
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 1   services while working pursuant to the franchise agreement, such that the cleaning workers are
 2   necessarily dependent on Jan-Pro, and all of accounts they clean are customers of Jan-Pro. See Ex. 11,
 3   Aguilar FA, §19; Ex. 12, Roman Franchise FA, §19; Ex. 13, Vazquez FA, §19. Further, Jan-Pro
 4   requires franchisees to wear uniforms with the Jan-Pro logo and to hold themselves out to the public as
 5   being part of “Jan-Pro.” See Ex. 1, Kissane dep., 173; see also Ex. 8, Vazquez Decl., ¶ 8; Ex. 9, Aguilar
 6   Decl., ¶ 7; Ex. 10, Roman Decl. ¶ 7.
 7           III.    ARGUMENT

 8           A “district court has broad discretion to determine whether a class should be certified.” Madrigal
 9   v. Tommy Bahama Grp., Inc., 2011 WL 10511339, *2 (C.D. Cal. June 27, 2011). In deciding a motion
10   for class certification, courts focus on whether the requirements of Rule 23 have been satisfied. Eisen v.
11   Carlisle & Jacquelin, 417 U.S. 156, 178 (1974). “The court is bound to take the substantive allegations
12   of the complaint as true” in determining the appropriateness of class certification. Blackie v. Barrack,
13   524 F.2d 891, 901 n. 17 (9th Cir. 1975). “[T]he court must only determine if the plaintiffs have
14   proffered enough evidence to meet the requirements of FRCP 23, not weigh competing evidence.”
15   Chun-Hoon v. McKee Foods Corp., 2006 WL 3093764, at *4 (N.D. Cal. Oct. 31, 2006) (internal citation
16   omitted). As set forth above, courts have certified virtually identical wage and misclassification claims
17   brought by cleaning franchisees under Massachusetts and Connecticut ABC tests for employee-status.
18           Indeed, class certification is eminently warranted here because the Plaintiffs and all class
19   members signed largely identical franchise agreements, performed the same cleaning services for Jan-
20   Pro’s customers, and were subject to Jan-Pro’s uniform cleaning policies and procedures. The question
21   of whether their services fell within Jan-Pro’s usual course of business (prong B) will also clearly be
22   common to all class members. Plaintiffs and all class members were also required to pay the same
23   categories of initial and ongoing fees as a condition of employment. For all these reasons, and for the
24   reasons set forth further below, the Court should find that all of the requirements of Rule 23 are met and
25   that class certification is appropriate.
26       A. The Class Satisfies the Requirements of Rule 23(a)
27                   1.      The members of the class are so numerous that joinder is impracticable
28           A plaintiff will satisfy the numerosity requirement if “the class is so large that joinder of all

                                                           9
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 1   members is impracticable.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir.1998). “There is no
 2   absolute minimum number of plaintiffs necessary to demonstrate that the putative class is so numerous
 3   so as to render joinder impracticable.” Breeden v. Benchmark Lending Group, Inc., 229 F.R.D. 623, 628
 4   (N.D. Cal. 2005). “Although the requirement is not tied to any fixed numerical threshold, courts have
 5   routinely found the numerosity requirement satisfied when the class comprises 40 or more members.”
 6   Villalpando, 303 F.R.D. at 605-06; see also Berry v. Baca, 2005 WL 1030248, *3 (C.D. Cal. May 2,
 7   2005); Ansari v. New York Univ., 179 F.R.D. 112, 114 (S.D.N.Y.1998). Here, there can be no question
 8   that the class satisfies the numerosity requirement. Indeed, just one of the California master franchises
 9   had more than this number during the class period. See Ex. 17, Connor-Nolan FDD, 2014, at 264.
10          1. The claims satisfy the commonality requirement
11          “Rule 23(a)(2) has been construed permissively” such that “[a]ll questions of fact and law need
12   not be common to satisfy the rule.” Hanlon, 150 F.3d at 1019. Instead, courts have found that “[t]he
13   existence of shared legal issues with divergent factual predicates is sufficient, as is a common core of
14   salient facts coupled with disparate legal remedies within the class.” Smith v. Cardinal Logistics Mgmt.
15   Corp., No. 07-2104 SC, 2008 WL 4156364, at *5 (N.D. Cal. Sept. 5, 2008). Courts throughout the Ninth
16   Circuit “have found that commonality is met when the proposed class of plaintiffs asserts that class
17   members were improperly classified as independent contractors instead of employees.” Soto v. Diakon
18   Logistics (Delaware), Inc., 2013 WL 4500693, *4 (S.D. Cal. Aug. 21, 2013), clarified on denial of
19   reconsideration, 2013 WL 5939787 (S.D. Cal. Nov. 5, 2013) (collecting cases).
20          Here, Plaintiffs challenge a common practice – Jan-Pro’s misclassification of its cleaning
21   workers as independent contractors. Under the standard franchise agreements that Jan-Pro drafted, Jan-
22   Pro classifies all of its cleaning “franchisees” who perform the cleaning work as independent
23   contractors, not employees. Ex. 13, Vazquez FA, at § 11 (“Franchisee is and shall remain at all times a
24   completely independent contractor in business for itself”); Ex. 12, Roman FA, at § 11; Ex. 11, Aguilar
25   FA, § 11. Thus, Plaintiffs seek the certification of a class of all individuals who signed franchise
26   agreements with Jan-Pro master franchises in the state of California and performed cleaning services for
27   Jan-Pro since December 12, 2004 (four years before the filing of the Complaint).
28

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 1          “District Courts throughout this circuit have found that commonality is met when the proposed
 2   class of plaintiffs asserts that class members were improperly classified as independent contractors
 3   instead of employees.” Guifu Li v. A Perfect Franchise, Inc., No. 10–CV–01189–LHK, 2011 WL
 4   4635198, at *7 (N.D. Cal. Oct. 5, 2011); see also Norris-Wilson v. Delta-T Group, Inc., 270 F.R.D. 596,
 5   604 (S.D. Cal. 2010) (misclassification is, “by itself, a factual and legal issue that satisfies Rule 23(a).”).
 6   Indeed, courts considering certification of claims involving cleaning franchisees under the identical
 7   Massachusetts ABC test have consistently certified such claims. See De Giovanni, 262 F.R.D. at 84-86;
 8   Coverall, C.A. No. 07-10287, Dkt. 365 (D. Mass. Sept. 27, 2011).
 9          Jan-Pro may attempt to argue that whether each cleaning worker is properly classified as an
10   independent contractor or employee must be determined individually. But, as the O'Connor v. Uber
11   Technologies, Inc. court recognized when granting class certification on the issue of independent
12   contractor misclassification, any such position by an employer would be utterly inconsistent:
13          As other courts weighing certification of employment misclassification claims have recognized,
            however, there is inherent tension between this argument and Uber's position on the merits: on
14          one hand, Uber argues that it has properly classified every single driver as an independent
            contractor; on the other, Uber argues that individual issues with respect to each driver's “unique”
15          relationship with Uber so predominate that this Court (unlike, apparently, Uber itself) cannot
            make a classwide determination of its drivers' proper job classification. See In re Wells Fargo
16          Home Mortgage Overtime Pay Litig., 571 F.3d 953, 957 (9th Cir. 2009) (holding that “[a]n
            internal policy that treats all employees alike for exemption purposes suggests that the employer
17          believes some degree of homogeneity exists among the employees. This undercuts later
            arguments that the employees are too diverse for uniform treatment”); see also Norris–Wilson v.
18          Delta–T Group, Inc., 270 F.R.D. 596, 602 (S.D. Cal. 2010) (explaining that “it may be that
            [Defendant] believes its workers are in fact independent contractors for reasons unique to each
19          individual, but it's more likely the case [Defendant] believes the independent contractor
            classification is universally appropriate. That runs at cross-purposes with the reason for objecting
20          to class certification, which is that it's impossible to reach general conclusions about the putative
            class as a whole”) (emphasis omitted). It appears that at least one of these arguments cannot be
21          entirely accurate, and for the purposes of resolving this motion the Court concludes that a
            number of Uber's class certification arguments are problematic.
22

23   2015 WL 5138097 *2 (N.D. Cal. Sept. 1, 2015).

24          Here, commonality is particularly clear under Prong B because all class members perform the

25   same work (commercial cleaning) and whether that work is within Jan-Pro’s usual course of business

26   will necessarily be determined on a common basis for the entire class. Prong B provides that an

27   individual is an employee unless his or her services are performed “outside the usual course of the hiring

28   entity’s business.” Dynamex, 4 Cal.5th at 959. As the Ninth Circuit has set forth in detail in this case,

                                                          11
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 1   whether Jan-Pro can satisfy the requirements of Prong B will be resolved based on common evidence
 2   about Jan-Pro’s business. See Vazquez, 986 F.3d at 1125-28; see also De Giovanni, 262 F.R.D. at 85
 3   (“common issues will predominate to determine whether the services performed by the class fall outside
 4   of Jani–King’s usual course of business” because there are no individualized inquiries regarding “the
 5   type of business operated by Jani–King.”); D’Italia v. Lowe’s Home Centers, Inc., Civ. No. 11-4758-
 6   BLS1 (Suffolk Super. Ct. December 12, 2012) (Ex. B to Liss-Riordan Decl.) at p.13 (“Lowe’s either is
 7   in the businesses of kitchen and bath remodeling, or it isn’t.”).
 8          Prong A of the “ABC” test can also be resolved on a common basis for the class. Indeed, the
 9   Third Circuit upheld the certification of wage claims brought by a class of Pennsylvania cleaning
10   franchisees under a multi-factor “right of control” test (similar to Prong A of the “ABC” test), finding
11   that “[t]he Jani-King franchise agreement, policies manual, and training manual are common to the
12   class.” Williams v. Jani-King of Philadelphia, Inc., 837 F.3d at 321-22. And in Vanguard, the court
13   applied the “ABC” tests of Connecticut and Massachusetts to find that cleaning franchise workers in
14   both states were actually the defendant franchisor company’s employees under Prong A (the right to
15   control prong) based on evidence including the defendant’s “operations manual, franchise agreement,
16   and other training, policies, and procedures”, Vanguard, 2017 WL 4817349 at *6, as well as under
17   Prong B, based on its finding that the workers’ cleaning services were performed within the usual course
18   of the defendant cleaning company’s business. Id. (“Vanguard cannot reasonably maintain that
19   commercial cleaning is not part of its ordinary course of business to avoid classifying its workers as
20   employees while simultaneously touting that it is ‘a leader in the commercial cleaning industry.’”).
21          Commonality also exists under Prong C (as the Court found in DeGiovanni, 262 F.R.D. at 85)
22   because the standard franchise agreements that Plaintiffs and many class members were required to sign
23   contain a non-competition agreement that prohibited them from performing commercial cleaning
24   services for anyone else, and therefore the question of whether Jan-Pro’s cleaning workers were
25   “customarily engaged in an independently established trade, occupation, profession or business” will be
26   identical for Plaintiffs and all class members. See, e.g., Ex. 12, Roman FA, at § 19 (“Franchisee agrees
27   during the Term of this Agreement not to engage in or have any financial interest in, either as an officer,
28   agent, stockholder, employee, director, owner or partner, any business (other than the franchise granted

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 1   hereunder) which performs janitorial or janitorial management services, franchising, sales or contracting
 2   or any related business anywhere.”); Ex. 13, Vazquez FA, at § 19; Ex. 11, Aguilar FA, § 19. Further, all
 3   class members performed work under the same conditions insofar as they were required to wear and
 4   utilize Jan-Pro branding and hold themselves out as part of the Jan-Pro system, and therefore, they
 5   performed their work while “wearing the hat” of Jan-Pro, and not of their own independent business.
 6   Boston Bicycle Couriers, Inc. v. Deputy Dir. Of the Div. of Employment & Training, 56 Mass. App. Ct.
 7   473, 480 (2002) (cited by Dynamex, 4 Cal.5th at 963).
 8          Therefore, the Plaintiffs’ and all class members’ employment status present common questions
 9   that can be determined based on common evidence. 12 Because the overarching question of whether
10   franchisees were misclassified as independent contractors will predominate, the Court need not engage
11   in a claim-by-claim analysis of the underlying wage claims (and indeed, the courts in other similar cases
12   like DeGiovanni and Williams did not do so). However, in any case, Plaintiffs’ claims under the Labor
13   Code are all susceptible to common proof.
14                  2.      Expense Reimbursement and Unlawful Deductions
15          Plaintiffs’ claim under Labor Code § 2802 also presents common questions. Such claims are
16   commonly certified where the employer has a uniform policy of failing to reimburse for certain
17   necessary business expenses. Trosper, 2014 WL 4145448, at *9 (N.D. Cal. Aug. 21, 2014) (“This Court
18   and others in this Circuit have found that commonality is met when, as here, the proposed class asserts
19   that an employer adopted a policy of not reimbursing its employees' necessary business expenses in
20   violation of Section 2802.”); Estrada, 154 Cal. App. 4th 1 (recognizing claims for failure to reimburse
21   expenses arising from misclassification as independent contractors and finding claims suitable for class
22   treatment); Richie, 2014 WL 6982943 *15 (finding that the requirements of Rule 23 were met with
23   regard to certain business expenses claims); Alfred v. Pepperidge Farm, Inc., 322 F.R.D. 519, 548 (C.D.
24   Cal. April 11, 2017) (“Plaintiffs' expense reimbursement claims will arise if it is determined that they
25   are employees. Whether such expenses were incurred can also be determined on a classwide basis with
26   common proof.”); Uschold v. NSMG Shared Services, LLC, 333 F.R.D. 157, 167 (N.D. Cal. 2019) (“the
27   12
            As noted above, it is not necessary for the Court to find commonality on all three prongs, see
28   Beavex, 810 F.3d at 1060-61, although the court in DeGiovanni did find commonality on all three
     prongs, see De Giovanni, 262 F.R.D. at 84-86.
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 1   commonality requirement is satisfied because there are common questions of law and fact arising out of
 2   the allegedly unlawful commission payment system Defendant used to compensate all putative class
 3   members and Defendant's alleged failure to reimburse its employees for reasonable and necessary
 4   business expenditures.”).
 5          Here, Plaintiffs contend that, pursuant to Jan-Pro’s uniform policies regarding its cleaning
 6   worker franchisees, they and other similarly situated cleaning workers were improperly charged for a
 7   job, through the thousands of dollars in fees that Plaintiffs and similarly situated workers are required to
 8   pay to obtain their cleaning work, pursuant to Jan-Pro’s standard franchise agreements. See, e.g., Ex. 11,
 9   Aguilar FA, §7(A) (requiring up front franchise fee of $950.00 and for the balance of $1850.00 to be
10   paid in monthly installments with a 10% interest rate); Ex. 12, Roman FA, at § 7(A) (same); Ex. 13,
11   Vazquez FA, at § 7 (requiring up front franchise fee of $5000.00 and for the balance of $4000.00 to be
12   paid in monthly installments with a 10% interest rate). These franchise fees constitute unlawful business
13   expenses or losses that Jan-Pro requires its employee cleaning workers to incur in violation of the
14   California Labor Code. 13 See Awuah v. Coverall N. Am., Inc., 460 Mass. 484, 498, 952 N.E.2d 890, 900
15   (2011) (in case involving cleaning franchisor and direct competitor of Coverall, holding that “[i]n
16   substance, [the franchise fees] operate to require employees to buy their jobs from employers” and
17   finding that these charges are contrary to public policy and may be recovered by the cleaning workers
18   from the master franchisor under the Massachusetts wage laws); Davis v. Farmers Ins. Exchange, 245
19   Cal. App. 4th 1302, 1336 (Cal. Ct. App. 2016) (“As is clear from the [Labor Code], under the California
20   law, an employer may not ‘pass through’ the normal costs of operating a business to the employee he
21   hires.”); Gallano v. Burlingston Coat Factory of California, LLC, 67 Cal. App. 5th 953, 755-756 (Cal.
22   Ct. App. 2021) (noting that “Section 2802 requires employer indemnification for ‘all necessary
23   expenditures or losses incurred by the employee’ . . . an economic loss may be incurred by the creation
24   of a liability or debt . . .” and finding that when the plaintiff employee “executed the promissory note at
25   the direction and for the benefit of her employer, she incurred an economic loss.”).
26

27
     13
28            In any event, whether these franchise fees are recoverable under Cal. Lab. Code Labor § 2802 is
     itself a legal question that is common to the entire class.
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 1          Plaintiffs’ work for Jan-Pro also required them to regularly incur a common set of expenses such
 2   as cleaning supplies and equipment, uniforms, and insurance. See Ex. 1, Kissane Dep., at 157-158; 91-
 3   93; Ex. 13, Vazquez FA, at §§ 6(A), 12; Ex. 12, Roman FA, at §§ 6 (A), 12; Ex. 11, Aguilar FA, §§
 4   6(A), 12. Section 2802 requires that an employer “indemnify his or her employee[s] for all necessary
 5   expenditures or losses incurred by the employee[s] in direct consequence of the discharge of [their]
 6   duties.” Cal. Lab. Code § 2802(a). Jan-Pro’s policy is that franchisees are not reimbursed for any of
 7   these expenses; with the exception of an initial set of cleaning supplies that are provided upfront,
 8   Plaintiffs must purchase supplies themselves, either directly from the master franchisee or on their own.
 9   See Ex. 1, Kissane Dep., at 157-158; 91-93; Ex. 13, Vazquez FA, at § 6(A); Ex. 12, Roman FA, at §
10   6(A); Ex. 11, Aguilar FA, § 6(A). Thus, whether Jan-Pro’s uniform policies of charging for a job by
11   requiring workers to pay franchise fees and of requiring workers to pay for their own job-related
12   expenses violates § 2802, is a question common to the class. See James, 338 F.R.D. at 139, quoting
13   O'Connor v. Uber Techs., Inc., 311 F.R.D. 547, 567 (N.D. Cal. 2015), rev'd on other grounds, 904 F.3d
14   1087 (9th Cir. 2018) (“The Court finds that certifying vehicle-related and phone expenses will not cause
15   individualized issues to predominate.”).
16          Similarly, under Labor Code § 221, it is unlawful “for any employer to collect or receive from an
17   employee any part of wages theretofore paid by said employer to said employee.” Cal. Lab. Code § 221.
18   It is undisputed that, pursuant to Jan-Pro’s standardized franchise agreements, numerous deductions are
19   routinely made from class members’ monthly pay, pursuant to standard formulas that are also set forth
20   in Jan-Pro’s standard form franchise agreements (e.g. Jan-Pro deducts a certain percentage of each class
21   member’s gross monthly income.) See Ex. 1, Kissane dep., at 33; Ex. 11, Aguilar FA, § 7; Ex. 12,
22   Roman FA, at § 7; Ex. 13, Vazquez FA, § 8. Thus, there is a common legal question as to whether any
23   or all of these deductions constitute a forfeiture of earned wages, and thereby violate this statutory
24   provision.
                    3.      Minimum Wage and Overtime
25
            If the members of the proposed class are deemed employees, the employer must have a policy in
26
     place to ensure that these employees are compensated for all “hours worked.” Labor Code §§ 1182.11-
27
     1182.13, 1197; see also Wage Order 5-2001 (Cal. Code Regs. tit. 8, § 11050), subd. 2(K) & Morillion v.
28
     Royal Packing Co., 22 Cal. 4th 575 (2000) (discussing definition of “hours worked”). Because Plaintiffs
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 1   have been misclassified as independent contractors rather than employees, there is no policy in place to
 2   ensure that Plaintiffs and other similarly situated cleaning workers receive minimum wage for all hours
 3   worked and overtime pay for hours worked in excess of forty per week or eight per day. See, e.g., Ex. 2
 4   (Vazquez FA) at § 11 (“Franchisee is and shall remain at all times a completely independent contractor
 5   in business for itself”); Ex. 12, Roman FA, at §§ 11, 3(B)(3); Ex. 11, Aguilar FA, § 11. At times,
 6   Plaintiffs have made less than minimum wage; have not been paid to attend mandatory training; and
 7   have not been paid overtime. See Ex. 9, Aguilar Decl.; Ex. 8, Vazquez Decl.; Ex. 10, Roman Decl..
 8           Thus, the common question of whether Jan-Pro has implemented policies to ensure that its
 9   cleaning workers are paid in accordance with the minimum wage and overtime requirements of
10   California law will govern these claims, and class certification is appropriate. See Vaquero, 824 F.3d at
11   1155 (finding that the plaintiffs had satisfied commonality and predominance because “Defendants'
12   consciously chosen compensation policy deprived the class members of earnings in violation of
13   California's minimum wage laws. In a wage and hour case, unlike in an antitrust class action, the
14   employer-defendant's actions necessarily caused the class members' injury. Defendants either paid or did
15   not pay their sales associates for work performed. No other factor could have contributed to the alleged
16   injury”); see also Cruz, 2009 WL 1458032, at *9 (overtime claims); Dilts, 2010 WL 1709807, at *11
17   (claims for meal and rest breaks, overtime compensation, business expenses, unlawful deductions, and
18   timely payment of wages); see also Prince, 118 Cal. App. 4th at 1328 (“wage and hour disputes
19   routinely proceed as class actions”); Culley v. Lincare Inc., 2016 WL 4208567, at *5 (E.D. Cal. Aug. 10,
20   2016); Hoffman v. Blattner Energy, Inc., 315 F.R.D. 324, 343 (C.D. Cal. June 15, 2016). The court may
21   certify a class action alleging overtime violations even when not all class members have suffered these
22   violations. 14
23   14
             See Tyson Foods, Inc. v. Bouphakeo, 136 S. Ct. 1036, 1044, 1049-50 (2016) (affirming class
24   action trial verdict and rejecting defendant’s argument that class should not have been certified in light
     of the fact that a number of the class members did not appear to work more than forty hours a week,
25   noting that bifurcating liability and damages solves this problem); Shaw v. AMN Healthcare, Inc., 326
     F.R.D. 247, 269 (N.D. Cal. 2018) (certifying class alleging overtime violations despite evidence that
26   some members of the class may have received overtime and quoting Torres v. Mercer Canyons Inc., 835
     F.3d 1125, 1136 (9th Cir. 2016) ("[A] well-defined class may inevitably contain some individuals who
27   have suffered no harm as a result of a defendant's unlawful conduct.” (citing Newberg on Class Actions
     § 2:3)); Dilts, 2010 WL 1709807, at *8; see also Kamar, 254 F.R.D. 387, 399 (C.D. Cal. 2008) ("'the
28   necessity for class members to individually establish eligibility and damages does not mean individual
     (continued on next page)
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 1          Thus, all of Plaintiffs’ claims are susceptible to common proof, and the commonality
 2   requirement is satisfied.
                    4.      Plaintiffs satisfy the typicality requirement
 3
            “[R]epresentative claims are ‘typical’ if they are reasonably coextensive with those of absent
 4
     class members; they need not be substantially identical.” Hanlon, 150 F.3d at 1020 (citation omitted).
 5
     The typicality inquiry focuses on “whether other [class] members have the same or similar injury,
 6
     whether the action is based on conduct which is not unique to the named plaintiffs, and whether other
 7
     class members have been injured by the same course of conduct.” Hanon v. Dataproducts Corp., 976
 8
     F.2d 497, 507 (9th Cir. 1992); Wixon v. Wyndham Resort Dev. Corp., 2009 WL 3353445, at *3 (N.D.
 9
     Cal. Oct. 19, 2009) (typicality should focus on defendant’s conduct). Typicality is a permissive standard,
10
     and only requires that the named plaintiffs claims’ are ‘reasonably coextensive’ with those of the class.”
11
     Dalton, 270 F.R.D. at 560. “Some degree of individuality is to be expected in all cases, but that
12
     specificity does not necessarily defeat typicality.” Smith, 2008 WL 4156364, *5. Thus, “[i]n examining
13
     this condition, courts consider whether the injury allegedly suffered by the named plaintiffs and the rest
14
     of the class resulted from the same alleged common practice.” Id. (internal quotation omitted).
15
            Here, Plaintiffs’ claims are typical of the claims of the class because they all arise out of Jan-
16
     Pro’s uniform conduct toward Plaintiffs and the class—namely, Jan-Pro’s misclassification of unit
17
     franchisees as independent contractors and its resulting violations of the Labor Code. Plaintiffs and the
18
     class are thus in a materially identical position vis-à-vis Jan-Pro with respect to these practices.
19
     Plaintiffs’ claims are, therefore, typical. See e.g., Norris-Wilson, 270 F.R.D. at 605 (noting that “[t]he
20
     injuries alleged—a denial of various benefits—and the alleged source of those injuries—a sinister
21
     classification by an employer attempting to evade its obligations under labor laws—are the same for all
22
     members of the putative class” and “[t]he typicality requirement is therefore satisfied”); Romero v.
23
     Producers Dairy Foods, Inc., 235 F.R.D. 474, 489 (E.D. Cal. 2006).
24

25

26
     fact questions predominate.' Individual issues do not render class certification inappropriate so long as
27   such issues may effectively be managed.") (quoting Sav-On Drug Stores, Inc. v. Superior Court 34 Cal.
     5th 319, 334-35 (Cal. 2004) (certifying class alleging overtime violations despite potential variations in
28   overtime damage because "the need for individualized proof of damages is not per se an obstacle to class
     treatment")).
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                    5.      Plaintiffs and their counsel adequately represent the interests of the class
 1
            Rule 23(a)(4) requires that “the representative parties will fairly and adequately protect the
 2
     interests of the class.” Fed. R. Civ. P. 23(a)(4). Adequacy has two elements: (1) that the proposed
 3
     representatives do not have conflicts of interest with the proposed class, and (2) Plaintiffs are
 4
     represented by qualified and competent counsel. See, e.g., Hanlon, 150 F.3d at 1020. The law governing
 5
     adequacy is well-settled that “only a conflict that goes to the very subject matter of the litigation will
 6
     defeat a party’s claim of representative status.” 7A Charles Alan Wright, Arthur R. Miller, et al., Federal
 7
     Practice and Procedure, § 1768 (3d ed. 1986).
 8
            Here, the Plaintiffs satisfy both factors. First, there is no conflict between the named Plaintiffs
 9
     and other Jan-Pro franchisees. See Exhibits 8-10. Instead, Plaintiffs are trying to vindicate the rights of
10
     their fellow franchisees to recover fees that were unlawfully deducted from their pay; wages they were
11
     not paid; and business expenses that were not reimbursed. See Myers v. Jani-King of Philadelphia, Inc.
12
     et al., 2015 WL 1055700, * (E.D. Pa. Mar. 11, 2015) (finding adequacy requirement met for a class of
13
     Pennsylvania Jani-King cleaning workers and rejecting Jani-King’s argument that some cleaning
14
     workers would prefer not to challenge their employment status not only because such an argument is
15
     speculative, but also because “courts have hesitated to find class representatives inadequate based on
16
     some class members preferring that an alleged illegal practice continues.”) (collecting cases).
17
            Second, Plaintiffs’ counsel are particularly well-qualified and experienced in this type of
18
     litigation. Plaintiffs’ counsel has litigated countless wage and hour class actions around the country, 15
19
     and Lichten & Liss-Riordan, P.C. in particular has pioneered this exact area of class actions asserting
20
     employee misclassification claims against janitorial franchise cleaning companies on behalf of cleaning
21
     workers, including groundbreaking victories at the Ninth Circuit and California Supreme Court in this
22
     very case. See, e.g., Vazquez v. Jan-Pro Franchising Int'l, Inc., 986 F.3d 1106, 1124 (9th Cir. 2021)
23
     (prevailing on appeal and securing ruling that Dynamex applies to cleaning franchisees’
24
     misclassification and wage claims); Vazquez v. Jan-Pro Franchising Int'l, Inc., 10 Cal. 5th 944, 478 P.3d
25
     1207 (2021) (answering certified question; holding Dynamex applies retroactively); Mujo, 2019 WL
26
     145524, at *1 (certifying misclassification claims for Jani-King workers under Connecticut law); De
27

28   15
            See Plaintiffs’ counsel’s website is available at: http://llrlaw.com/independent-contractor
                                                          18
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 1   Giovanni, C.A. No. 07-10066 (Ex. A to Liss-Riordan Decl.) (awarding summary judgment to
 2   Massachusetts Jani-King franchisees); De Giovanni, 262 F.R.D. 71 (certifying wage and
 3   misclassification claims for Jani-King workers under Massachusetts law); Williams, 837 F.3d 314 (3d
 4   Cir. 2016) (certifying class of Pennsylvania franchisees on misclassification claims); Vanguard, 2017
 5   WL 4817349, at *6 (awarding summary judgment to Massachusetts and Connecticut cleaning
 6   franchisees); Awuah v. Coverall N. Am., Inc., 460 Mass. 484, 498, 952 N.E.2d 890, 900 (2011) (holding
 7   that franchise cleaning workers could recover franchise fees and other payments made to janitorial
 8   franchising company in exchange for the right to work); Ribeiro v. System4LLC, AAA No. 01 15 0003
 9   8637 (Aug. 23, 2016) at *24-30, (Ex. C to Liss-Riordan Decl.), aff’d System4 LLC v. Ribeiro, 75 F.
10   Supp. 3d 297 (D. Mass. 2017) (awarding summary judgment to Massachusetts cleaning franchisees); De
11   Souza et al. and The Solomon Partnership, Inc. d/b/a All-Pro Cleaning Systems et al., AAA No. 11-523-
12   01574-11 (Aug. 10, 2012) (Ex. D to Liss-Riordan Decl.) (holding that cleaning franchise workers were
13   employees of the cleaning franchisor under the Massachusetts “ABC” employment test). Counsel has
14   pursued this case doggedly for many years, securing landmark rulings from the Ninth Circuit and
15   California Supreme Court in this very case, such that it is clear that counsel is well-qualified to represent
16   the class.
17       B. The Class Satisfies The Requirements of Rule 23(b)
18                1. Common questions predominate over questions affecting individual class members
19           Under Rule 23(b)(3), plaintiffs must show “that the questions of law or fact common to class
20   members predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).
21   “The Ninth Circuit has held that ‘there is clear justification for handling the dispute on a representative
22   rather than an individual basis” if “common questions present a significant aspect of the case and they
23   can be resolved for all members of the class in a single adjudication.’” Magadia v. Wal-Mart Assocs.,
24   Inc., 324 F.R.D. 213, 220–21 (N.D. Cal. 2018) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022
25   (9th Cir. 1998)). “Because no precise test can determine whether common issues predominate, the court
26   must pragmatically assess the entire action and the issues involved.” Chun-Hoon, 2006 WL 3093764,
27   *2. “A court evaluating predominance must determine whether the elements necessary to establish
28   liability [here, any of the § 148B’s three prongs] are susceptible to common proof or, if not, whether

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 1   there are ways to manage effectively proof of any element that may require individualized evidence.”
 2   Villalpando, 303 F.R.D. at 608.
 3          Here, common questions of law and fact plainly predominate because the Plaintiffs and all class
 4   members performed the same work (commercial cleaning) for Jan-Pro pursuant to materially identical
 5   franchise agreements under the same blanket categorization as “independent contractors,” and were
 6   required to adhere to the same policies and procedures set forth in these agreements and incorporated
 7   manuals, and were further required to pay upfront fees (franchise fees) as well as ongoing fees
 8   (including liability insurance, “sales and marketing fees”, and additional deductions and expenses) as a
 9   prerequisite to obtaining and maintaining employment. The ultimate questions of whether these cleaning
10   workers were misclassified; whether these cleaning workers were required to pay these fees and
11   expenses; and whether these cleaning workers were denied minimum wage and overtime predominates
12   for the Plaintiffs’ and all class members’ claims. See Hart v. Rick’s Cabaret Int’l Inc., 2010 WL
13   5297221, *7 (S.D.N.Y. Dec. 20, 2010) (“As other courts have previously found, the propriety of the
14   defendants’ blanket categorization of the plaintiffs as independent contractors, and, if improper, the legal
15   consequences of that categorization, by their nature tend to predominate over any individual issues.”)
16   (collecting cases). 16 As set forth supra, each of the three prongs of the ABC test is capable of class-wide
17   determination, and commonality on just one of these three prongs is sufficient grounds to certify the
18   class. See Costello v. Beavex, 810 F.3d 1045, 1060-61 (7th Cir. 2016); James, 2021 WL 254303, at *11;
19   Moreno, 2019 WL 3858999, at *13.
20

21
     16
             The Court may focus its commonality analysis on the misclassification question. See Bowerman
22   v. Field Asset Services, Inc., 242 F. Supp. 3d 910, 946 (N.D. Cal. 2017) (granting summary judgment on
     employee status under Borello, including as to overtime and expense reimbursement claims: “because
23   employees are entitled to overtime and payment of expenses as a matter of law, summary judgment with
     respect to liability to the class is appropriate. Whether and to what amount an individual class member
24   should be compensated for working overtime or being reimbursed for expenses will be determined in
     the damages or claims phase of the case.”). Even if some of Plaintiffs’ Labor Code claims raise some
25   individualized issues, the common issues predominate over the individualized issues. See Leyva v.
     Medline Indus. Inc., 716 F. 3d 510, 513-14 (9th Cir. 2013) (explaining that even highly individualized
26   damages inquiries do not undermine predominance when “damages [may] be feasibly and efficiently []
     calculated once the common liability questions are adjudicated.”). Any individualized questions
27   (determining which class members are entitled to damages for which claims and the amounts of
     damages) are secondary to the predominant questions of whether unit franchisees are Jan-Pro’s
28   employees. Moreover, “damage calculations alone cannot defeat class certification.” Vaquero, 824 F.3d
     at 1155.
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                 2. A class action is the superior mechanism for addressing the cleaning workers’
 1
                    claims
 2           Class treatment is superior “whenever the actual interests of the parties can be served best by
 3   settling their differences in a single action.” Hanlon, 150 F.3d at 1022 (quotation omitted); Shepard,
 4   2013 WL 4488802, *4-6. In evaluating superiority, courts consider: (a) the class members’ interests in
 5   individually controlling the prosecution of separate actions; (b) the extent and nature of any litigation
 6   concerning the controversy already begun by or against class members; (c) the desirability or
 7   undesirability of concentrating the litigation of the claims in the particular forum; and (d) the likely
 8   difficulties in managing a class action. Fed. R. Civ. P. 23(b)(3)(A)-(D). The superiority requirement is
 9   designed to ensure the “‘vindication of the rights of groups of people who individually would be without
10   effective strength to bring their opponents to court at all.’” Anchem Prods., Inc. v. Windsor, 512 U.S.
11   591, 617 (1997). A district court has “broad discretion” in determining whether class treatment is
12   superior. Kamm v. Cal. City Dev. Co., 509 F.2d 205, 210 (9th Cir. 1975).
13           Here, this case challenges common practice of misclassification that similarly affected hundreds
14   of individuals who have performed cleaning services for Jan-Pro in California since 2004. De Giovanni,
15   262 F.R.D. at 85-86 (holding that a class action is “superior” to adjudicate claims of Massachusetts Jani-
16   King workers, noting that the Supreme Court has “express a strong preference for rendering decisions on
17   the classification of employees on a class wide basis”) (citing Nationwide Mut. Ins. Co. v. Darden, 503
18   U.S. 318, 327 (1992)). It would be grossly inefficient to require each of these class members to bring a
19   separate case challenging these practices. The issues in this case are best resolved on a class-wide basis,
20   which also serves the important public policies at stake in this action. See Gentry v. Sup. Ct., 42 Cal.4th
21   443, 462 (2007) (class actions guard against the prospect of “random and fragmentary enforcement” of
22   the employer’s legal obligations under California wage laws); Richie, 2014 WL 6982943, at *22
23   (“classwide treatment of these claims is a more efficient use of judicial and party resources than several
24   individual actions.”). 17
25   17
             There are no other cases by proposed class members against Jan-Pro regarding the claims in this
26   case. Plaintiffs are aware of just one other case against Jan-Pro based on similar allegations, which was
     recently filed in San Mateo County court and does not include class allegations. See Nunez v. Jan-Pro
27   Franchising Int’l Inc., 20-CIV-02595 (San Mateo Cty.). In sum, there is no indication that class
     members have an interest in individually controlling the prosecution of this action. In addition, the opt-
28   out nature of a (b)(3) class protects the interests of class members who do not wish to participate.
     (continued on next page)
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 1           Moreover, given these individuals’ reliance upon Jan-Pro for their livelihoods, “a class action is
 2   the superior method for adjudication of the controversy because … class members may fear reprisal and
 3   would not be inclined to pursue individual claims….” N.A.A.C.P. v. Acusport Corp., 210 F.R.D. 268
 4   (E.D.N.Y. 2002). “[C]lass adjudication is superior in the employment context because fear of employer
 5   retaliation may have a chilling effect on employees bringing claims on an individual basis.” Overka, 265
 6   F.R.D. at 24. Indeed, numerous courts have held that class actions are superior in wage cases because of
 7   the prospect of retaliation. See e.g., Perez v. Safety-Kleen Systems,Inc., 253 F.R.D. 508, 520 (N.D. Cal.
 8   2008); O’Brien v. Encotech Const. Servs., Inc., 203 F.R.D. 346, 350 (N.D. Ill. 2001) (noting that
 9   workers’ fear of employer retaliation is “a very important concern” because the “nature of the economic
10   dependency involved in the employment relationship is inherently inhibiting.”). Further, Jan-Pro is a
11   large international corporation, and the cleaning workers are primarily immigrant workers (many of
12   whom do not speak English as their first language). It would be particularly difficult for this group of
13   workers to vindicate their rights on an individual basis. Permitting Plaintiffs to prosecute their claims on
14   behalf of the proposed class meets these challenges and provides a superior method of resolving the
15   claims of the putative class members. Lastly, “a class action would eliminate the risk that the question of
16   law common to the class will be decided differently in each lawsuit.” Id. For all of these reasons, a class
17   action is superior in this case.
18           Additionally, a class proceeding can be effectively managed. Plaintiffs propose a phased
19   proceeding in which Jan-Pro’s liability for misclassification and expense reimbursement, unlawful
20   deductions, and minimum wage and overtime would be determined (at summary judgment and/or at
21   trial), with the burden of proof on Jan-Pro, as all class members are presumed to be employees under
22   Dynamex. Unless Jan-Pro is able to prove all three prongs of the ABC test, liability would be
23   established as to the class. Phase II of the proceeding would then focus on damages. Plaintiffs would
24   present representative testimony as well as an analysis of the amount of overtime worked, the amount of
25   unlawful deductions taken, and the amount of business expenses accrued. Representative testimony is
26

27   Certification here, therefore, provides a single forum to protect the rights of Jan-Pro’s workers. See, e.g.,
     Romero, 235 F.R.D. at 491. Jan-Pro did not treat class members individually in deciding to treat them all
28   as independent contractors, and it does not make sense to adjudicate the legality of that decision
     individually, especially given the inefficiencies of doing so.
                                                          22
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 1   appropriate in these circumstances where the employer has failed in its obligation to maintain records.
 2   Anderson v. Mt. Clemens Pottery, 328 U.S. 680, 687-88 (1946); Bell v. Farmers Insurance Exchange,
 3   115 Cal. App. 4th 715, 750 (2004). The Court can manage any individual issues on its own, or through a
 4   special master. This type of phased proceeding has been found appropriate for purposes of
 5   manageability. See Ellis v. Costco Wholesale Corp., 285 F.R.D. 492, 539 (N.D. Cal. 2012); Wilson v.
 6   Kiewit Pac. Co., C 09-03630 SI, 2010 WL 5059522 (N.D. Cal. Dec. 6, 2010).
 7           IV.    CONCLUSION

 8           For the foregoing reasons, the Court should grant Plaintiffs’ Motion for Class Certification. The
 9   Court should certify a class of all individuals who signed franchise agreements with Jan-Pro master
10   franchises in the state of California and performed cleaning services for Jan-Pro since December 12,
11   2004.
12
     Date: on January 21, 2022
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                                                                    Respectfully submitted,
14

15                                                                  LICHTEN & LISS-RIORDAN, P.C.

16                                                                  /s/ Shannon Liss-Riordan
                                                                    Shannon Liss-Riordan
17                                                                  Attorneys for Plaintiffs
18

19

20
                                           CERTIFICATE OF SERVICE
21

22
             I hereby certify that a copy of the foregoing document was served by electronic filing on January
23
     21, 2022, on all counsel of record.
24
                                                    _/s/ Shannon Liss-Riordan_____________
25                                                    Shannon Liss-Riordan Esq.
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